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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 DEBORAH TROUDT, BRAD STAUF,
 SUSAN CUTSFORTH, WAYNE
 SELTZER, MICHAEL HARKIN,
 MIRIAM WAGNER, and MICHAEL FOY,
 individually and as representatives of a
 class of plan participants, on behalf of the     Case No. ______________
 Oracle Corporation 401(k) Savings and
 Investment Plan,
                    Plaintiffs,                   COMPLAINT––CLASS ACTION

 v.
 ORACLE CORPORATION, ORACLE                      JURY TRIAL DEMANDED
 CORPORATION 401(K) COMMITTEE,
 and JOHN DOES 1–20,

                    Defendants.

                                       COMPLAINT

         1.     Oracle Corporation breached its fiduciary duties in the management of

  its employees’ 401(k) plan (the Oracle Corporation 401(k) Savings and Investment

  Plan (“the Plan”)). Defendants, as fiduciaries to the Plan, which consists of Plan

  participants’ retirement assets, have a fiduciary obligation to act for the exclusive

  benefit of participants and to make sure that fees are reasonable. Because the

  marketplace for retirement plan services is established and competitive, billion

  dollar 401(k) plans, like this Plan, wield tremendous bargaining leverage and can

  obtain high-quality investment management and administrative services at very

  low costs.
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          2.    Defendants, as fiduciaries to the Plan, are obligated to act for the

  exclusive benefit of participants, without self-interest, and to make sure fees are

  reasonable. They are held to the standard of a prudent financial expert familiar

  with the investment industry practices and fees. Defendants caused the Plan to pay

  recordkeeping and administrative fees to Fidelity that were multiples of the market

  rate for the same services. Defendants breached their fiduciary duties of loyalty and

  prudence and engaged in transactions expressly prohibited by ERISA.1 By failing to

  act solely in the interest of Plan participants and failing to adequately monitor the

  investment options in, and service providers to, the Plan. Defendants also prevented

  participants in the Plan from discovering their breaches through a series of false

  and misleading communications to Plan participants.

          3.    Plaintiffs, individually and as representatives of a class of participants

  in the Plan, bring this action on behalf of the Plan under 29 U.S.C. §§1132(a)(2) and

  (3) to enforce Defendants’ personal liability under 29 U.S.C. §1109(a), to make good

  to the Plan all losses resulting from each breach of fiduciary duty, and to restore to

  the Plan any profits made through Defendants’ use of the Plan’s assets. In addition,

  Plaintiffs seek to reform the Plan to comply with ERISA and to prevent further

  breaches of ERISA’s fiduciary duties and other such equitable or remedial relief for

  the Plan as the Court may deem appropriate.




   1   The Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461.

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                            JURISDICTION AND VENUE

        4.     This Court has federal question subject matter jurisdiction under 28

  U.S.C. §1331 because this is an action under 29 U.S.C. §1132(a)(2) and (3), for

  which federal district courts have exclusive jurisdiction under 29 U.S.C. §1132(e)(1).

        5.     This district is the proper venue for this action under 29 U.S.C.

  §1132(e)(2) and 28 U.S.C. §1391(b) because it is the district where at least one

  Defendant may be found. All Defendants are subject to nationwide service of

  process under 29 U.S.C. §1132(e)(2).

                                         PARTIES

             Oracle Corporation 401(k) Savings and Investment Plan

        6.     Oracle Corporation (“Oracle”) is a publicly-traded, Delaware

  corporation with major operations in this District and throughout the United

  States. Oracle employs more than 130,000 people and generates over $38 billion in

  revenue. Oracle acquired Sun Microsystems in 2009 and, at the time, Colorado was

  the second largest operation for both companies. Since 2009, Oracle has increased

  its presence in the state by acquiring companies based in Colorado.

        7.     Oracle established and maintains the Plan for its eligible employees.

  Oracle is the Plan sponsor under 29 U.S.C. §1002(16)(B). Oracle operates its

  business and employs individuals (including Plaintiffs) in Boulder, Colorado; Brush,

  Colorado; Fort Collins, Colorado; Loveland, Colorado; Sterling, Colorado; and

  Greeley, Colorado and thus may be found in this district.




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        8.     As required by 29 U.S.C. §1102(a)(1), the Plan is established and

  maintained by a written plan document titled “Oracle Corporation 401(k) Savings

  and Investment Plan.” The Plan was originally created as a profit-sharing

  retirement plan in 1986. The Plan document has been amended and restated

  repeatedly, most recently on January 1, 2014.

        9.     All employees of Oracle and certain of its affiliates are eligible to

  participate in the Plan with the possible exception of certain employees covered by

  collective bargaining agreements.

        10.    The Plan is an “employee pension benefit plan” under 29 U.S.C.

  §1002(2)(A), and an “individual account plan” or “defined contribution plan” under

  29 U.S.C. §1002(34).

        11.    The Plan held $12,111,912,892 in assets and had 65,732 participants

  with account balances as of December 31, 2014. The Plan is one of the country’s

  largest 401(k) plans, in assets, larger than 99.99% of all 401(k) plans.

        12.    The Plan document identifies Oracle as the named fiduciary of the

  Plan under 29 U.S.C. §1102(a) and the Plan administrator under 29 U.S.C.

  §1002(16)(A). The Plan document grants Oracle discretionary responsibility for the

  administration of the Plan.

        13.    The “Committee” (undefined in the Plan document) is the named

  fiduciary under 29 U.S.C. §1102(a) with respect to: (1) the interpretation of the

  Plan; (2) the formulation of rules necessary to administer the Plan; (3) the final

  determination of participant claims; and (4) the establishment and implementation



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  of a funding policy and method for the Plan. The Trust Agreement, described below,

  identifies the Committee as the Oracle Corporation 401(k) Committee.

         14.    Oracle is responsible for choosing the investment line-up for the Plan,

  in which participants can invest. The Committee only has authority to make

  recommendations to Oracle regarding investments. Any delegation by Oracle to the

  Committee of its authority to make decisions regarding Plan must be in writing.

         15.    Plaintiffs requested all documents related to the governance and

  oversight of the Plan under 29 U.S.C. §1024(b)(4) and 29 CFR 2550.404c-l. If Oracle

  delegated any of its fiduciary responsibility, they would be required to be produced

  under §1024(b)(4). Oracle did not produce any delegation documents in response to

  Plaintiffs’ request.

         16.    While the Senior Vice President of Oracle America, Inc., a subsidiary of

  Oracle, nominates members of the Committee, the Compensation Committee of the

  Board of Directors for the Company has ultimate authority over Committee

  membership.

         17.    In accordance with 29 U.S.C. §1103(c), the Plan document requires all

  Plan assets to be held in trust by a trustee appointed by Oracle. Oracle entered into

  a Trust Agreement with Fidelity Management Trust Company that was originally

  dated December 31, 1993 and most recently restated on February 1, 2003.

         18.    Fidelity Management Trust Company, Inc. provides recordkeeping and

  administrative services to the Plan as described in the 2003 Trust Agreement.

  Several Fidelity entities provide or have provided services to the Plan, including



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  Fidelity Management & Research Company, which is the investment adviser for

  Fidelity mutual funds. All Fidelity entities, along with their affiliates, subsidiaries,

  parents, and otherwise will be referred to as “Fidelity.”

        19.    Fidelity’s services to the Plan are performed in multiple states,

  including Massachusetts, Ohio, and Colorado.

        20.    Section 5(b) of the Trust Agreement states that the Committee as a

  named fiduciary shall direct the Trustee as to the investment options that will be

  offered in the Plan and limits those options to (1) mutual funds, (2) Oracle stock, (3)

  participant loans, and (4) Fidelity collective trusts. The investment options selected

  by the Committee (or Oracle) are listed on Schedule C of the Trust Agreement.

        21.    Large shareholders of a company have significant influence over

  corporations for a variety of reasons:

               A.     They can vote their shares to support or oppose management;

               B.     They can affect the company’s stock price based on their holding

                      or selling large blocks of the company’s stock; and

               C.     They have significant influence over executive compensation and

                      bonuses, particularly if the compensation or bonus is based on

                      share price.

        22.    Fidelity is the sixth largest institutional holder of Oracle stock, owning

  over $2 billion shares. Thus, Fidelity has the influence of a large stockholder in

  light of its stock ownership.




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        23.    Oracle has chosen and maintained funds from one of its largest

  shareholders, Fidelity, to be investment options in the Plan. Oracle has also chosen

  Fidelity to provide recordkeeping services to the Plan. Because of these choices by

  Oracle, Fidelity has received, and continues to receive, millions of dollars of Plan

  participants’ retirement assets.

                                        Plaintiffs

        24.    Plaintiff Deborah Troudt resides in Boulder, Colorado. She formerly

  worked for Oracle as a Business Analyst in Operations and remains a participant in

  the Plan under 29 U.S.C. §1002(7) because she or her beneficiaries are eligible to

  receive benefits under the Plan.

        25.    Plaintiff Brad Stauf resides in Louisville, Colorado. He is a Pre-Sales

  Engineer for Oracle and is a participant in the Plan under 29 U.S.C. §1002(7)

  because he or his beneficiaries are eligible to receive benefits under the Plan.

        26.    Plaintiff Susan Cutsforth resides in Milwaukee, Wisconsin. She retired

  from her position as Senior Principal Consultant at Oracle and was a participant in

  the Plan until 2014, when her account balance was distributed from the Plan. Ms.

  Cutsforth nonetheless is entitled to receive benefits from the Plan in the amount by

  which her account would have increased in value as of the time of the account

  distribution had Defendants not breached their duties as alleged herein or had

  Defendants performed their duties under 29 U.S.C. §1109(a) before that date.




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        27.    Plaintiff Wayne Seltzer resides in Boulder, Colorado. He is a Business

  Analyst for Oracle and is a participant in the Plan under 29 U.S.C. §1002(7)

  because he or his beneficiaries are eligible to receive benefits under the Plan.

        28.    Plaintiff Michael S. Harkin resides in Dublin, California. He is an

  Oracle Support, Enterprise Account Manager for Oracle and is a participant in the

  Plan under 29 U.S.C. §1002(7) because he or his beneficiaries are eligible to receive

  benefits under the Plan.

        29.    Plaintiff Miriam Wagner resides in Chicago, Illinois. She retired from

  her position as a Director of Sales at Oracle and remains a participant in the Plan

  under 29 U.S.C. §1002(7) because she or her beneficiaries are eligible to receive

  benefits under the Plan.

        30.    Plaintiff Michael E. Foy resides in Broomfield, Colorado. He is a

  Principal Design Engineer for Oracle and is a participant in the Plan under 29

  U.S.C. §1002(7) because he or his beneficiaries are eligible to receive benefits under

  the Plan.

                                       Defendants

        31.    Oracle is the named fiduciary of the Plan under 29 U.S.C. §1102(a) and

  the Plan administrator. It also is a functional fiduciary under 29 U.S.C.

  §1102(21)(A) because it has discretionary authority and control over the investment

  options made available to Plan participants and over the hiring, monitoring, and

  removal of Plan service providers such as the trustee and recordkeeper. Oracle also

  exercises authority and control over Plan assets.



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        32.    The Plan document provides for a Committee to serve as a named

  fiduciary primarily for purposes related to claims for benefits under the Plan

  document. The Committee is also given “nonfiduciary administrative functions,”

  including making recommendations to the Company for decisions related to Plan

  administration and investing Plan assets, if so delegated by the Company.

        33.    The Senior Vice President of Oracle America, Inc. nominates members

  of the Committee.

        34.    The actions taken by the Committee and other Oracle officers,

  directors, employees, agents, affiliates, subsidiaries, and committees, as to the Plan

  were, and are, actions on behalf of and thus the actions of Oracle.

        35.    Plaintiffs are currently unaware of the identities of the Senior Vice-

  President of Oracle America Inc. or the individual members of the Committee.

  Those individuals are collectively named as John Does 1–20. Plaintiffs will

  substitute the real names of the John Does when Plaintiffs know them.

        36.    The fiduciary functions allocated to Oracle and the Committee are

  described in contradictory ways in the governing Plan documents. Who actually

  exercises what fiduciary functions has not been disclosed to participants. Therefore,

  all Defendants are collectively referred to in the paragraphs below.

   ERISA’S FIDUCIARY STANDARDS AND PROHIBITED TRANSACTIONS

        37.    ERISA imposes strict fiduciary duties of loyalty and prudence upon the

  Defendants as fiduciaries of the Plan. The statute states, in relevant part, that, “a

  fiduciary shall discharge his duties with respect to a plan solely in the interest of



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   the participants and beneficiaries and (A) for the exclusive purpose of (i) providing

   benefits to participants and their beneficiaries; and (ii) defraying reasonable

   expenses of administering the plan; [and] (B) with the care, skill, prudence, and

   diligence under the circumstances then prevailing that a prudent man acting in a

   like capacity and familiar with such matters would use in the conduct of an

   enterprise of like character and with like aims.” 29 U.S.C. §1104(a). The standard

   for the level of expertise to which fiduciaries are held is that of a prudent expert in

   financial matters. See, e.g. Katsaros v. Cody, 744 F.2d 270, 279 (2d Cir. 1984).

         38.    Under ERISA, fiduciaries that exercise any authority or control over

   plan assets, including the selection of plan investments and service providers, must

   act prudently and solely in the interest of participants in the plan. “[A] fiduciary of

   a defined contribution, participant-driven, 401(k) plan created to provide retirement

   income for employees who is given discretion to select and maintain specific

   investment options for participants—must exercise prudence in selecting and

   retaining available investment options.” DiFelice v. U.S. Airways, Inc., 497 F.3d

   410, 418 (4th Cir. 2007). In determining whether a fiduciary has selected

   investments prudently, courts “examine the totality of the circumstances[.]” Id.

         39.    ERISA fiduciaries selecting plan investments and service providers

   “must also scrupulously adhere to a duty of loyalty, and make any decisions in a

   fiduciary capacity with ‘an eye single to the interests of the participants and

   beneficiaries.’” Id. at 418–19. “Corporate officers must ‘avoid placing themselves in

   a position where their acts [or interests] as officers or directors of the corporation



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   will prevent their functioning with the complete loyalty to participants demanded of

   them as trustees of a pension plan.’” Id. at 419 (quoting Donovan v. Bierwirth, 680

   F.2d 263, 271 (2d Cir. 1982)). As the Supreme Court recently confirmed, ERISA’s

   “duty of prudence involves a continuing duty to monitor investments and remove

   imprudent ones[.]” Tibble, 135 S. Ct. at 1829.

         40.    ERISA also imposes co-fiduciary liability on plan fiduciaries. Under 29

   U.S.C. §1105(a), in addition to any liability for its own breach, a fiduciary “shall be

   liable for a breach of fiduciary responsibility of another fiduciary with respect to the

   same plan in the following circumstances: (1) if he participants knowingly in, or

   knowingly undertakes to conceal, an act or omission of such other fiduciary,

   knowing such act or omission is a breach; or (2) if, by his failure to comply with

   section 404(a)(1) in the administration of his specific responsibilities which give rise

   to his status as a fiduciary, he has enabled such other fiduciary to commit a breach;

   or (3) if he has knowledge of a breach by such other fiduciary, unless he makes

   reasonable efforts under the circumstances to remedy the breach.”

         41.    The general duties of loyalty and prudence imposed by 29 U.S.C. §1104

   are supplemented by a list of transactions that are expressly prohibited by 29

   U.S.C. §1106, and are considered per se violations because they entail a high

   potential for abuse. Section 1106(a)(1) states, in pertinent part, that “a fiduciary

   with respect to a plan shall not cause the plan to engage in a transaction, if he

   knows or should know that such transaction constitutes a direct or indirect (A) sale

   or exchange, or leasing, of any property between the plan and a party in interest; . .



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   . (C) furnishing of goods, services, or facilities between the plan and party in

   interest; [or] (D) transfer to, or use by or for the benefit of a party in interest, of any

   assets of the plan . . ..” Section 1106(b) provides, in pertinent part, that “a fiduciary

   with respect to the plan shall not (1) deal with the assets of the plan in his own

   interest or for his own account, (2) in his individual or in any other capacity act in a

   transaction involving the plan on behalf of a party (or represent a party) whose

   interests are adverse to the interest of the plan or the interest of its participants or

   beneficiaries, or (3) receive any consideration for his own personal account from any

   party dealing with such plan in connection with a transaction involving the assets

   of the plan.”

          42.      Under 29 U.S.C. §1109(a), “[a]ny person who is a fiduciary with respect

   to a plan who breaches any of the responsibilities, obligations, or duties imposed

   upon fiduciaries by this subchapter shall be personally liable to make good to such

   plan any losses to the plan resulting from each such breach, and to restore to such

   plan any profits of such fiduciary which have been made through use of assets of the

   plan by the fiduciary, and shall be subject to such other equitable or remedial relief

   as the court may deem appropriate, including removal of such fiduciary.” 29 U.S.C.

   §1132(a)(2) empowers any plan participant to bring a civil action for appropriate

   relief under 29 U.S.C. §1109 on behalf of the plan.

          43.      29 U.S.C. §1132(a)(3) provides a cause of action against a non-fiduciary

   “party in interest” who knowingly participates in prohibited transactions or

   knowingly receives payments made in breach of a fiduciary’s duty, and authorizes



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   “appropriate equitable relief” such as restitution or disgorgement to recover ill-

   gotten proceeds from the non-fiduciary.

                       FACTS APPLICABLE TO ALL COUNTS

          Defendants had no prudent process for selecting and retaining
                       prudent and loyal investment options.

         44.    In a defined-contribution plan, participants’ retirement benefits are

   limited to the value of their own individual accounts, which is determined solely by

   employee and employer contributions plus the amount gained through investment

   in the options that plan fiduciaries provide, less expenses. See 29 U.S.C. §1002(34);

   Tibble v. Edison Int’l, 135 S.Ct. 1823, 1826 (2015). Poor investment performance

   and excessive fees can significantly impair the value of a participant’s retirement

   account. Over time, even seemingly small differences in fees and performance can

   result in vast differences in the amount of savings available at retirement. See, e.g.,

   U.S. Dep’t of Labor, A Look at 401(k) Plan Fees 1–2 (Aug. 2013) (1% difference in

   fees over 35 years reduces a participant’s account balance at retirement by 28%).

         45.    Here, Defendants controlled the investments in which Plan

   participants could place their retirement assets. Prudent and loyal fiduciaries

   evaluate each plan investment option to ensure it is and remains a prudent

   investment for participants’ retirement savings. A prudent process involves an

   analysis of investment style, historical performance, fees and expenses, manager

   skill and tenure, and appropriate investment vehicle (mutual fund, collective trust,

   separate account), among others. The Supreme Court has recently made it very

   clear that this analysis must continue throughout the time that the investment


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   options remain in the Plan, since fiduciaries have an ongoing duty to monitor the

   prudence of plan investment options and remove imprudent ones. Tibble, 135 S.Ct.

   at 1828–29.

         46.     Despite the fact that 401(k) plan fiduciaries are held to the standard of

   prudent financial experts and must act for the exclusive benefit of participants in

   screening and selecting a menu of investment options, Defendants provided at least

   3 imprudent investment options. These imprudent investment options, described

   below, consistently underperformed their designated benchmarks, consistently

   underperformed the majority of other funds of the same investment style, charged

   excessive fees, and paid revenue sharing to Fidelity far beyond a reasonable rate for

   the services provided.

         47.     401(k) plan fiduciaries are required to individually analyze for

   prudence each investment option made available to participants. DiFelice, 497 F.3d

   at 423–24. Defendants failed to engage in a prudent and loyal fiduciary process to

   select and maintain only prudent and reasonably priced investments as Plan

   investment options.

        Defendants caused the Plan to pay excessive recordkeeping fees.

         48.     Recordkeeping is a service necessary for every defined contribution

   plan. The market for recordkeeping is highly competitive. There are numerous

   vendors in the marketplace who are capable of providing a high level of service to a

   jumbo 401(k) plan like this Plan. These vendors primarily differentiate themselves

   based on price and vigorously compete for business by offering the best price.



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   Recordkeeping vendors will readily bid for servicing a jumbo plan, such as Oracle’s

   401(k) Plan, on a flat, low, per-participant fee basis, if plan fiduciaries put plan

   recordkeeping services out for competitive bidding.

          49.    Numerous recordkeepers only provide recordkeeping services and do

   not sell investment products. These vendors do not link proprietary investment

   products to their provision of recordkeeping services.

          50.    Unlike recordkeepers who do not sell investment products, Fidelity’s

   primary business is selling investment products. The primary method of payment to

   Fidelity for its recordkeeping services for the Plan has been an asset based fee and

   not a flat, per-participant fee.

          51.    Fidelity has been the recordkeeper for the Plan since 1993. Defendants

   have not informed participants that they have not put the Plan’s services out for

   competitive bidding in the last 26 years.

          52.    Prudent fiduciaries engage in a competitive bidding process for plan

   recordkeeping and administrative services about every 3 years. A competitive

   bidding process results in a negotiated recordkeeping contract that provides the

   desired services at the lowest cost available in the market. It causes recordkeepers

   to submit their best bids because they know the process is a competition.

   Defendants failed to engage in such a process for over 25 years. Had they done so,

   they would have entered into a recordkeeping arrangement for the Plan that

   provided the same recordkeeping services at a substantially lower cost.




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         53.    The per-participant cost of providing recordkeeping services does not

   depend on the amount of money in participants’ accounts. Thus, the cost of

   providing recordkeeping services to a participant with $100,000 in her retirement

   account is the same as for a participant with $1,000 in her retirement account. For

   this reason, prudent fiduciaries negotiate recordkeeping fees on the basis of a fixed

   dollar amount for each participant in the plan, instead of an asset-based percentage

   of plan assets. Setting recordkeeping fees, or allowing them to be paid, on the basis

   of a percentage of plan asset values can result in excessive recordkeeping fees

   because, as plan assets increase (such as through participant contributions and

   gains on investments), recordkeeping compensation increases without any change

   in recordkeeping services. That is what Defendants did. Defendants caused the Plan

   to pay its recordkeeper, Fidelity, with uncapped asset-based fees paid by the

   participants out of the expense ratios of the investment options in the Plan.

   Defendants have not negotiated a reasonable, fixed fee per participant for the Plan’s

   recordkeeping and administrative services. This breach of fiduciary duty has caused

   the Plan to incur unreasonable expenses of administration.

         54.    Mutual funds have thousands of shareholders and their expense ratio

   includes a portion for recordkeeping those thousands of shareholders’ accounts.

   However, since a mutual fund in a 401(k) plan has only one aggregate amount to

   track, the recordkeeping must be done by the plan for each participant. In these

   circumstances, some mutual funds engage in a practice known as revenue sharing.




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         55.    In a revenue sharing arrangement, a mutual fund pays part of the

   mutual fund’s asset-based fees to certain recordkeepers. Most of the funds in this

   Plan make and have made undisclosed revenue sharing payments to Fidelity

   ranging from 3 to 40 basis points (bps) (0.03%–0.40%). As much as 50% of the asset-

   based expense ratio of Fidelity equity mutual funds and 90% of the asset-based

   expense ratio of Fidelity money-market funds are allocated to the Fidelity entity

   that provides Plan recordkeeping or other administrative services.

         56.    While revenue sharing payments are ostensibly provided as

   compensation to the recordkeeper for providing administrative services a mutual

   fund otherwise would have provided, the payments can effectively be kickbacks for

   including the fund in a plan’s investment lineup because the amount of revenue

   sharing paid due to large plan investments in mutual funds can exceed reasonable

   compensation for the services provided. This excess over a reasonable fee is

   particularly likely since revenue sharing is asset-based and thus prone to increase

   as plan assets increase through contributions and investment growth, even though

   recordkeeping services do not. Some recordkeepers, such as Fidelity, also sell

   investment products and recommend that plan fiduciaries use funds that provide

   substantial revenue sharing, such proprietary or affiliated funds.

         57.    In a plan that allows revenue-sharing payments to its recordkeeper

   from mutual funds that are investment options, a prudent and loyal fiduciary

   monitors that revenue sharing to ensure that the recordkeeper does not receive

   total compensation from the plan exceeding a reasonable, per-participant



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   recordkeeping fee. If it does, a prudent and loyal fiduciary compels the recordkeeper

   to refund to the plan all revenue sharing it receives that exceeds a reasonable, flat

   recordkeeping fee. Such monitoring also applies to all other sources of compensation

   that the recordkeeper may receive, such as float and direct payments by the Plan or

   its participants. Defendants failed to adequately monitor all sources of Fidelity’s

   compensation, including float and direct payments by the Plan or participants,

   causing the Plan to pay excessive recordkeeping and administrative fees.

         58.    Defendants could have, and should have, requested information from

   Fidelity as an integral part of satisfying their fiduciary duty to ensure that

   participants avoid paying unreasonable fees. Fidelity maintains documents that

   summarize Fidelity’s compensation such as: fee transparencies, fee analyses, fee

   summaries, relationship pricing analyses, cost-competitiveness analyses, and multi-

   practice and stand alone pricing reports.

         59.    For purposes of a plan’s annual report filed with the Department of

   Labor (a/k/a Form 5500), revenue sharing payments are classified as “indirect

   compensation,” as distinguished from “direct” payments from the plan. In the Plan’s

   annual reports, Defendants reported the percentage of revenue sharing Fidelity

   received but failed to disclose the asset amounts for many of the funds listed on the

   over 200 page disclosures, despite being obligated to do so. By deliberately failing to

   disclose the asset amounts Defendants concealed the amount of Fidelity

   compensation. This made it impossible for participants, the Department of Labor, or




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   the public to know the amount of fees being paid. Thus, Defendants concealed their

   breaches from participants.

   60.   As to the portion of the information disclosed, based on known revenue

   sharing rates and the amount of reported direct compensation from the Plan,

   Fidelity received at least the following approximate amounts of combined direct and

   indirect compensation for recordkeeping from 2009 through 2013: 2009—$5.3

   million; 2010—$8.1 million; 2011—$7.7 million; 2012—$8 million; 2013—$4.3

   million.2 These amounts were unreasonable and excessive. The precise amount of

   compensation paid to Fidelity by the Plan cannot be determined because the

   Defendants have not disclosed it, as is required by the Department of Labor. The

   Plan continues to pay excessive amounts to Fidelity. These amounts far exceed

   reasonable compensation based on the per-participant rate that this Plan could

   have obtained for the same services. A reasonable recordkeeping and administrative

   fee for the Plan would be approximately $25 per participant, which is based on the

   nature of the administrative services provided by Fidelity, the approximate number

   of Plan participants (38,000 in 2009 and 60,000 since 2010), and the recordkeeping

   market. Based on information currently available, the Plan paid approximately $68

   to $140 per participant per year from 2009 through 2013 for recordkeeping and




    2 In 2013, Fidelity received compensation of at least $9.3 million. The Form 5500,
   however, seems to indicate that $5 million was returned to the Plan. Even if this is
   the case, the $4.3 million that remained as compensation to Fidelity resulted in
   excessive and unreasonable compensation for the services provided to the Plan, as
   described below.

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   administrative services, up to 170%-460% higher than a reasonable fee for these

   same services.

         61.      In addition, Fidelity also received revenue from float interest, short

   term trading fees that were applied to many of the Plan’s investment options,

   finders fees, brokerage window fees, revenue sharing from investments through the

   brokerage window, and other sources of income related to the Plan or its

   investments.

         62.      From the beginning of 2009 to year-end 2014, the Plan’s assets more

   than tripled from $3.6 billion to over $11 billion. Because revenue sharing payments

   are asset-based and because Defendants chose to pay asset based recordkeeping

   fees, rather than a flat per-participant fee as the recordkeeping market readily

   does, Fidelity’s revenue skyrocketed even though the services it provided to the

   Plan remained the same.

         63.      Defendants failed without good cause to put the Plan’s recordkeeping

   compensation out for competitive bidding on a prudently regular basis. Defendants

   also failed to prudently monitor and control Fidelity’s total recordkeeping

   compensation, particularly asset-based, uncapped revenue sharing, and caused the

   Plan to provide Fidelity excessive recordkeeping compensation for the services

   provided. This resulted in losses to the Plan exceeding $40 million.

    Defendants imprudently selected and retained poorly performing funds.


         64.      Defendants selected and failed to remove mutual funds whose

   performance was poor or management tenure insufficient.


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         65.    Selecting investment options for plan participants that have minimal

   performance history is wholly contrary to the most basic prudent fiduciary

   practices. When making investment decisions, prudent fiduciaries of defined

   contribution plans consider the performance history, portfolio manager experience,

   and manager tenure of available investment alternatives. Consistent performance

   history and investment strategy, among other factors, demonstrate the potential of

   the investment manager to generate superior long-term investment results

   compared to the fund’s benchmark or peer group of managers with similar

   mandates.3 At a minimum, prudent fiduciaries require a 3-year performance history

   for an investment option prior to its inclusion in a 401(k) plan. As set forth in

   further detail below, there was no prudent or loyal reason to select a fund without

   an adequate performance history.

         66.    The Artisan Small Cap Value Fund (APHVX) ranked at the very

   bottom of its class for 4 out of 5 years (96th, 98th, 94th, and 97th percentiles) before

   it was removed in June 2015. The Artisan Small Cap Value Fund greatly

   underperformed its benchmark 4 out of the most recent 5 years, resulting in tens of

   millions of dollars of losses to the Plan.




    3 Fiduciaries always have available index funds, as opposed to choosing active
   management, within any investment style. These low-cost options simply invest in
   stocks listed on a particular index in the same proportion as they comprise the
   index. They have low costs because the manager of the fund does not research
   individual stocks.

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          67.   The consistent underperformance of the Artisan Small Cap Value

   Fund is further demonstrated based on the fund’s investment performance

   compared to its benchmark over the 1, 3, and 5 year periods ending June 2015.




                          Dramatic Underperformance
                      of the Artisan Small Cap Value Fund
                                        As of June, 2015
    25

    20

    15

    10

     5

     0

     ‐5

    ‐10
                  1 year                           3 year                        5 year

                            Artisan Small Cap Value Fund    Russell 2000 Index



          68.   If the Plan had been invested in a prudent alternative in the small cap

   space, like the Vanguard Small-Cap Value Index Fund (VSIIX), the Plan would

   have avoided over $70 million in losses.




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                  Plan Lo
                        osses From Defendants' Failure to Monitoor and Rem
                                                                         move
                                thee Artisan Sm
                                              mall Cap V
                                                       Value Fund
   $210,000,0
            000



   $190,000,0
            000



   $170,000,0
            000

                                                                                                               over $70 million
   $150,000,0
            000



   $130,000,0
            000



   $110,000,0
            000



    $90,000,0
            000
                       2009            2010       2011         2012           2013        20014       Jun‐1
                                                                                                          15

                  Russell 2000
                             0 Index          Artisan Small Caap Value Fund          Vanguarrd Small Cap Value Index Fund




           69.        The PIMCO
                          P     Infflation Response Mullti-Asset Fu
                                                                  und (PIRM
                                                                          MX) was

   created on Augustt 31, 2011. A year and
                                         d a half latter, it was a
                                                                 added to th
                                                                           he Plan

   withoutt an adequa
                    ate perform
                              mance histo
                                        ory. Thus, there was no pruden
                                                                     nt process a
                                                                                and

   or adequ
          uate track record for selecting this
                                          t    fund, w
                                                     which was an imprud
                                                                       dent option
                                                                                 n for

   Plan pa
         articipants. This balan
                               nced fund dramatical
                                         d        lly underpeerformed the Fidelity
                                                                                 y

   Balance
         ed Fund (FBAKX), wh
                           hich was allready in th
                                                 he Plan.




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                Underperformancce of PIMCO Inflationn Responsee Multi‐Assset
                      ompared to
                Fund Co        o Fidelity Balanced
                                          B        Fu
                                                    und Alreaddy in the Plan
    25.00%

    20.00%

    15.00%

    10.00%

     5.00%

     0.00%

     ‐5.00%

    ‐10.00%

    ‐15.00%
                          2013                              2014                                        2015
                                                                                                           5

                         PIMCO Inflation Response Multi‐asset Fund            Fidelity Balaanced Fund




          70.        If the
                          e Defendan
                                   nts had nott impruden
                                                       ntly added tthe PIMCO
                                                                           O Inflation
                                                                                     n

   Responsse Multi-Asset Fund, the Plan would
                                        w     havee avoided ssignificant losses.


                              Plan Lo
                                    osses From Defendan nts' Imprud
                                                                  dent
                                 Seleection and
                                              d Retention
                                                        n of PIRMXX
        $2,40
            00,000
        $2,30
            00,000
        $2,20
            00,000
        $2,10
            00,000
        $2,00
            00,000
                                                                                                          O
                                                                                                          Over $750,000
        $1,90
            00,000
        $1,80
            00,000
        $1,70
            00,000
        $1,60
            00,000
        $1,50
            00,000
                          Apr‐13            EOY 2013                  20014                   2015


                          PIMCO Inflatio
                                       on Response Multi‐asset Fund                Fidelitty Balanced Fund
                                                                                                         d




                                                          24
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          71.    Similarly, the TCM Small-Mid Cap Growth fund was created in June

   2007 and added to the Plan barely 2 years later without an adequate performance

   history. In the only year of performance available to fiduciaries when they selected

   this fund (2008), it underperformed its benchmark by over 5%. Subsequently, the

   fund underperformed its benchmark every year that it was in the Plan, causing

   significant losses for the Plan.


                TCM Small‐Mid Cap Growth Fund's Underperformance
                           Compared to its Benchmark
                 2009          2010         2011          2012          2013
     0.00%

     ‐2.00%

     ‐4.00%

     ‐6.00%

     ‐8.00%

    ‐10.00%

    ‐12.00%



                   Defendants concealed their fiduciary breaches.

          72.    Defendants concealed their breaches of fiduciary duty and other

   ERISA violations through a series of false and misleading statements and by

   omitting disclosure of material information. This prevented Plaintiffs from

   discovering Defendants’ breaches and violations.




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         73.    Beginning in the 2009 plan year, Defendants were required to report

   annually to the Department of Labor all direct and indirect compensation received

   by each of the Plan’s service providers. While each year Defendants reported that

   Fidelity received indirect compensation, and that there was a formula to determine

   this compensation, Defendants failed to provide the required asset levels necessary

   to complete the formula or the amount of the indirect compensation in their annual

   Form 5500 public filing to the Department of Labor.4 Thus, participants had no way

   of knowing the amount of Fidelity’s indirect compensation.

         74.    Defendants concealed from the government regulatory body,

   participants, and the public critically important information required by the

   Department of Labor for enforcement of ERISA requirements and prevented

   participants from discovering the excessive compensation paid by the Plan to

   Fidelity.

         75.    Because of the specialized nature of the information needed to

   understand the nature and extent of the excessive fees and imprudent investments

   that Defendants imposed upon the Plan, Plaintiffs could not have discovered




    4Investment managers and fund companies sometimes negotiate a percentage of
   assets invested by a particular plan (often expressed in basis points) that they will
   share with the recordkeeper. To determine Fidelity’s indirect compensation from
   these managers or fund companies, the basis points must be multiplied by the
   assets to determine the dollar amount paid to Fidelity. While Defendants knew the
   asset amounts invested in each option and the basis points from each options
   shared with Fidelity, they concealed a crucial part of this formula from the
   Department of Labor and participants, making it impossible to know the full
   amount of Fidelity’s total compensation.

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   Defendants’ breaches through the exercise of reasonable diligence any sooner than

   within 6 years before filing this complaint.

                            CLASS ACTION ALLEGATIONS

         76.    29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the

   Plan to bring an action individually on behalf of the Plan to recover for the Plan the

   remedies provided by 29 U.S.C. §1109(a).

         77.    In acting in this representative capacity and to enhance the due

   process protections of unnamed participants and beneficiaries of the Plan, as an

   alternative to direct individual actions on behalf of the Plan under 29 U.S.C.

   §1132(a)(2) and (3), Plaintiffs seek to certify this action as a class action on behalf of

   all participants and beneficiaries of the Plan. In light of Defendants’ concealment of

   their misconduct, Defendants’ fiduciary breaches and other ERISA violations went

   undetected for years, and Plaintiffs are entitled to recover for the harm caused

   during the time that the breaches were concealed. While Defendants’ long campaign

   of imprudent conduct in managing the Plan likely began even earlier, the starting

   date for the class is January 1, 2009. Plaintiffs will move for certification of a class

   that commences on the earliest date for which Defendants may be held liable for

   their breaches. Presently, Plaintiffs seek to certify the following class, and to be

   appointed as representatives of the class:

       All participants and beneficiaries of the Oracle Corporation 401(k) Savings and
       Investment Plan from January 1, 2009 through the date of judgment, excluding
       the Defendants.




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         78.      This action meets the requirements of Rule 23 and is certifiable as a

   class action for the following reasons:

               a. The Class includes over 30,000 members, which is so large that joinder

      of all its members is impracticable.

               b. There are questions of law and fact common to this Class because the

      Defendants owed fiduciary duties to the Plan and to all participants and

      beneficiaries. Defendants took the actions and omissions alleged herein as to the

      Plan and not as to any individual participant. Defendants’ actions in doing so

      were the same actions as a whole for each Plan participant affected. Thus,

      common questions of law and fact include the following, without limitation: who

      are the fiduciaries liable for the remedies provided by 29 U.S.C. §1109(a);

      whether the fiduciaries of the Plan breached their fiduciary duties to the Plan;

      whether the Plan’s fees are excessive; what are the losses to the Plan resulting

      from each breach of fiduciary duty; and what are the profits of any breaching

      fiduciary that were made through the use of Plan assets by the fiduciary.

               c. Plaintiffs’ claims are typical of the claims of the Class because each

      Plaintiff was a participant during the time period at issue in this action and all

      participants in the Plan were harmed by Defendants’ misconduct.

               d. Plaintiffs are adequate representatives of the Class because they were

      participants in the Plan during the Class period, have no interest that is in

      conflict with the Class, are committed to the vigorous representation of the




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      Class, and have engaged experienced and competent attorneys to represent the

      Class.

               e. Prosecution of separate actions for these breaches of fiduciary duties

      by individual participants and beneficiaries would create the risk of (A)

      inconsistent or varying adjudications that would establish incompatible

      standards of conduct for Defendants in respect to the discharge of their fiduciary

      duties to the Plan and personal liability to the Plan under 29 U.S.C. §1109(a),

      and (B) adjudications by individual participants and beneficiaries regarding

      these breaches of fiduciary duties and remedies for the Plan would, as a practical

      matter, be dispositive of the interests of the participants and beneficiaries not

      parties to the adjudication or would substantially impair or impede those

      participants’ and beneficiaries’ ability to protect their interests. Therefore this

      action should be certified as a class action under Fed.R.Civ.P. 23(b)(1)(A) or (B).

         79.      A class action is the superior method for the fair and efficient

   adjudication of this controversy because joinder of all participants and beneficiaries

   is impracticable, the losses suffered by individual participants and beneficiaries

   may be small and impracticable for individual members to enforce their rights

   through individual actions, and the common questions of law and fact predominate

   over individual questions. Given the nature of the allegations, no class member has

   an interest in individually controlling the prosecution of this matter. Plaintiffs are

   aware of no difficulties likely to be encountered in the management of this matter




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   as a class action. Alternatively, then, this action may be certified as a class under

   Fed.R.Civ.P. 23(b)(3) if it is not certified under Fed.R.Civ.P. 23(b)(1)(A) or (B).

         80.      Plaintiffs’ counsel, Schlichter, Bogard & Denton LLP, will fairly and

   adequately represent the interests of the Class and is best able to represent the

   interests of the Class under Rule 23(g).

               a. Schlichter, Bogard & Denton has been appointed as class counsel in 15

   other ERISA class actions regarding excessive fees in large defined contribution

   plans. As a district court in one of those cases recently observed: “the firm of

   Schlichter, Bogard & Denton ha[s] demonstrated its well-earned reputation as a

   pioneer and the leader in the field” of 401(k) plan excessive fee litigation. Abbott v.

   Lockheed Martin Corp., No. 06-701, 2015 U.S.Dist.LEXIS 93206 at 4–5 (S.D. Ill.

   July 17, 2015). Other courts have made similar findings: “It is clear to the Court

   that the firm of Schlichter, Bogard & Denton is preeminent in the field” of 401(k) fee

   litigation “and is the only firm which has invested such massive resources in this

   area.” George v. Kraft Foods Global, Inc., No. 08-3799, 2012 U.S.Dist.LEXIS 166816

   at 8 (N.D. Ill. June 26, 2012). “As the preeminent firm in 401(k) fee litigation,

   Schlichter, Bogard & Denton has achieved unparalleled results on behalf of its

   clients.” Nolte v. Cigna Corp., No. 07-2046, 2013 U.S.Dist.LEXIS 184622 at 8 (C.D.

   Ill. Oct. 15, 2013). In another 401(k) fee case, the District Court stated: “Litigating

   this case against formidable defendants and their sophisticated attorneys required

   Class Counsel to demonstrate extraordinary skill and determination.” Beesley v.

   Int’l Paper Co., No. 06-703, 2014 U.S.Dist.LEXIS 12037 at 8 (S.D.Ill. Jan. 31, 2014).



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             b. U.S. District Court Judge G. Patrick Murphy recognized the work of

   Schlichter Bogard & Denton as exceptional:

       Schlichter, Bogard & Denton’s work throughout this litigation illustrates an exceptional
       example of a private attorney general risking large sums of money and investing many
       thousands of hours for the benefit of employees and retirees. No case had previously been
       brought by either the Department of Labor or private attorneys against large employers for
       excessive fees in a 401(k) plan. Class Counsel performed substantial work…, investigating
       the facts, examining documents, and consulting and paying experts to determine whether it
       was viable. This case has been pending since September 11, 2006. Litigating the case
       required Class Counsel to be of the highest caliber and committed to the interests of the
       participants and beneficiaries of the General Dynamics 401(k) Plans.


   Will v. General Dynamics, No. 06-698, 2010 U.S.Dist.LEXIS 123349 at 8–9 (S.D.Ill.

   Nov. 22, 2010).

             c. Schlichter, Bogard & Denton handled the only full trial of an ERISA

   excessive fee case, resulting in a $36.9 million judgment for the plaintiffs that was

   affirmed in part by the Eighth Circuit. Tussey v. ABB, Inc., 746 F.3d 327 (8th Cir.

   2014). In awarding attorney’s fees after trial, the district court concluded that

   “Plaintiffs’ attorneys are clearly experts in ERISA litigation.” Tussey v. ABB, Inc.,

   No. 06-4305, 2012 U.S.Dist.LEXIS 157428 at 10 (W.D. Mo. Nov. 2, 2012). Following

   remand, the district court again awarded Plaintiffs’ attorney’s fees emphasizing the

   significant contribution Plaintiffs’ attorneys have made to ERISA litigation,

   including educating the Department of Labor and courts about the importance of

   monitoring fees in 401(k) plans.

       Of special importance is the significant, national contribution made by the Plaintiffs whose
       litigation clarified ERISA standards in the context of investment fees. The litigation
       educated plan administrators, the Department of Labor, the courts and retirement plan




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        participants about the importance of monitoring recordkeeping fees and separating a
        fiduciary’s corporate interest from its fiduciary obligations.


   Tussey v. ABB, Inc., 2015 U.S.Dist.LEXIS 164818 at 7–8 (W.D. Mo. Dec. 9, 2015).

              d. Schlichter, Bogard & Denton is also class counsel in Tibble, 135 S. Ct.

   at 1829, in which the Supreme Court held, in a unanimous 9–0 decision, that

   ERISA fiduciaries have “a continuing duty to monitor investments and remove

   imprudent ones[.]” Schlichter, Bogard & Denton successfully petitioned for a writ of

   certiorari, and obtained amicus support from the United States Solicitor General

   and AARP, among others. Given the Court’s broad recognition of an ongoing

   fiduciary duty, the Tibble decision will have a broad effect on 401(k) plans.

              e. The firm’s work in ERISA excessive fee class actions has been covered

   by the New York Times and Wall Street Journal, among other media outlets. See,

   e.g., Gretchen Morgenson, A Lone Ranger of the 401(k)’s, N.Y. TIMES (Mar. 29,

   2014);5 Liz Moyer, High Court Spotlight Put on 401(k) Plans, WALL ST. J. (Feb. 23,

   2015);6 Floyd Norris, What a 401(k) Plan Really Owes Employees, N.Y. TIMES

   (Oct. 16, 2014);7 Jess Bravin and Liz Moyer, High Court Ruling Adds Protections for

   Investors in 401(k) Plans, WALL ST. J. (May 18, 2015);8 Jim Zarroli, Lockheed



    5 Available at http://www.nytimes.com/2014/03/30/business/a-lone-ranger-of-the-
   401-k-s.html?_r=0.
    6 Available at http://www.wsj.com/articles/high-court-spotlight-put-on-401-k-plans-

   1424716527.
    7 Available at http://www.nytimes.com/2014/10/17/business/what-a-401-k-plan-

   really-owes-employees.html?_r=0.
    8 Available at http://www.wsj.com/articles/high-court-ruling-adds-protections-for-

   investors-in-401-k-plans-1431974139.

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   Martin Case Puts 401(k) Plans on Trial, NPR (Dec. 15, 2014);9 Darla Mercado,

   Public Enemy No. 1 to 401(k) Profiteers, INVESTMENTNEWS (Jan. 26, 2014).10

                                          COUNT I

                      Breach of Duties of Loyalty and Prudence
                             Excessive Administrative Fees

         81.    Plaintiffs restate and incorporate herein the allegations contained in

   the preceding paragraphs.

         82.    If a 401(k) plan overpays for recordkeeping services due to the

   fiduciaries’ “failure to solicit bids” from other recordkeepers, the fiduciaries have

   breached their duty of prudence. See George v. Kraft Foods Global, Inc., 641 F.3d

   786, 798–99 (7th Cir. 2011). Similarly, “us[ing] revenue sharing to benefit [the plan

   sponsor and recordkeeper] at the Plan's expense” while “failing to monitor and

   control recordkeeping fees” and “paying excessive revenue sharing” is a breach of

   fiduciary duties. Tussey, 746 F.3d at 336.

         83.    Defendants failed to engage in a prudent and loyal process for selecting

   a Plan recordkeeper and administrator. Instead of soliciting competitive bids from

   outside vendors on a flat per-participant fee basis or soliciting bids at all,

   Defendants used Fidelity to provide these services to the Plan for over 16 years.

         84.    Defendants failed to engage in a prudent and loyal process to ensure

   that the compensation paid to Fidelity was reasonable for the administrative

    9 Available at http://www.npr.org/2014/12/15/370794942/lockheed-martin-case-
   puts-401-k-plans-on-trial.
    10 Available at

   http://www.investmentnews.com/article/20140126/REG/301269992/public-enemy-
   no-1-for-401-k-profiteers.

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   services provided to the Plan. Defendants allowed Fidelity to receive uncapped,

   asset-based revenue sharing, yet failed to monitor the amount of those payments to

   determine if they were reasonable. As the assets in the Plan grew, the revenue

   sharing payments to Fidelity grew by a similar percentage, even though the

   services provided by Fidelity remained the same to this Plan, and the number of

   participants in the Plan had increased only slightly. This caused the recordkeeping

   compensation paid to Fidelity to become even more excessive than it had been

   without any comparable increase in services.

         85.    Through these actions and omissions, Defendants caused tens of

   millions of dollars in losses to the Plan at the expense of participants.

         86.    Each Defendant is personally liable under 29 U.S.C. §1109(a) to make

   good to the Plan any losses to the Plan resulting from the breaches of fiduciary

   duties alleged in this Count, to restore to the Plan any profits made through use of

   Plan assets, and is subject to other equitable or remedial relief as appropriate. Each

   Defendant also knowingly participated in the breaches of the other Defendants,

   knowing that such acts were breaches, enabled the other Defendants to commit

   breaches by failing to lawfully discharge its own fiduciary duties, knew of the

   breaches by the other Defendants, failed to make any reasonable effort under the

   circumstances to remedy the breaches, and thus each Defendant is liable for the

   losses caused by each breach of its co-fiduciaries under 29 U.S.C. §1105(a).




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         87.    Plaintiffs seek an accounting from Defendants to determine the full

   nature and extent of the losses caused to the Plan and the profits Defendants

   unlawfully gained and must make good to the Plan.

                                         COUNT II

                      Breach of Duties of Loyalty and Prudence
                            Imprudent Investment Options.

         88.    Plaintiffs restate and incorporate herein the allegations contained in

   the preceding paragraphs.

         89.    Defendants failed to engage in a prudent process for the selection and

   retention of Plan investment options. Instead, Defendants provided and retained

   more expensive funds with inferior historical performance that paid revenue

   sharing and generated investment management fee revenues for Fidelity. Had a

   prudent and loyal fiduciary conducted such an investigation, it would have

   concluded that the Plan’s investment options were selected and retained for reasons

   other than the best interest of the Plan and its participants and were causing the

   Plan to lose tens of millions of dollars of participants’ retirement savings in

   excessive and unreasonable fees and underperformance relative to prudent

   investment options available to the Plan. The Plan suffered over $40 million dollars

   in losses from Defendants’ breaches of duty.

         90.    Each Defendant is personally liable under 29 U.S.C. §1109(a) to make

   good to the Plan any losses to the Plan resulting from the breaches of fiduciary

   duties alleged in this Count, to restore to the Plan any profits made through use of

   Plan assets, and is subject to other equitable or remedial relief as appropriate. Each


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   Defendant also knowingly participated in the breaches of the other Defendants,

   knowing that such acts were breaches, enabled the other Defendants to commit

   breaches by failing to lawfully discharge its own fiduciary duties, and knew of the

   breaches by the other Defendants and failed to make any reasonable effort under

   the circumstances to remedy the breaches, and thus each Defendant is liable for the

   losses caused by each breach of its co-fiduciary under 29 U.S.C. §1105(a).

         91.    Plaintiffs seek an accounting of all participant investment transactions

   and the sources and recipients of all investment option fees, as well as other

   discovery, in order to determine the full nature and extent of the Plan’s losses and

   Defendants’ gains from this breach of duty, which Defendants must make good to

   the Plan.

                                        COUNT III

                            Failure to Monitor Fiduciaries.

         92.    Plaintiffs restate and incorporate herein the allegations contained in

   the preceding paragraphs.

         93.    Given that the Oracle Corporation had overall oversight responsibility

   for the Plan, and the explicit fiduciary responsibility to appoint and remove

   members of the Committee, Oracle had a fiduciary responsibility to monitor the

   performance of the other fiduciaries.

         94.    A monitoring fiduciary must ensure that the monitored fiduciaries are

   performing their fiduciary obligations, including those with respect to the




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   investment and holding of plan assets, and must take prompt and effective action to

   protect the plan and participants when they are not.

         95.    To the extent any of Oracle’s fiduciary responsibilities were delegated

   to another fiduciary, Oracle’s monitoring duty included an obligation to ensure that

   any delegated tasks were being performed prudently and loyally.

         96.    Oracle, thus, breached its fiduciary monitoring duties by, among other

   things:

                a.    failing to monitor its appointees, to evaluate their performance,

      or to engage in a prudent process for doing so, and standing idly by as the Plan

      suffered enormous losses as a result of their appointees’ imprudent actions and

      omissions with respect to the Plan;

                b.    failing to monitor its appointees’ fiduciary process, which would

      have alerted a prudent fiduciary to the potential breach because of the numerous

      poor-performing investment options;

                c.    failing to ensure that the monitored fiduciaries had a prudent

      process in place for evaluating the Plan’s administrative fees and ensuring that

      the fees were competitive, including a process to identify and determine the

      amount of all sources of compensation to the Plan’s recordkeeper; the amount of

      any revenue sharing payments, float, and any other sources of revenue derived

      from the Plan or its investments; a process to prevent the recordkeeper from

      receiving uncapped revenue sharing that would increase the recordkeeper’s

      compensation to unreasonable levels even though the services provided



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      remained the same; and a process to periodically obtain competitive bids to

      determine the market rate for the services provided to the Plan;

                d.     failing to remove appointees whose performance was inadequate

      because they continued to maintain the imprudent options for participants’

      retirement savings in the Plan, and they continued to breach their fiduciary

      duties under ERISA.

         97.    As a consequence of these breaches of the fiduciary duty to monitor,

   the Plan suffered substantial losses. Had Oracle discharged its fiduciary monitoring

   duties prudently as described above, the losses suffered by the Plan would have

   been avoided. Therefore, as a direct result of the breaches of fiduciary duty alleged

   herein, the Plan, and the Plaintiffs and other Plan participants, lost tens of millions

   of dollars of retirement savings.

         98.    Each Defendant is personally liable under 29 U.S.C. §1109(a) to make

   good to the Plan any losses to the Plan resulting from the breaches of fiduciary

   duties alleged in this Count, to restore to the Plan any profits made through the use

   of Plan assets, and is subject to other equitable or remedial relief as appropriate.

   Each Defendant also knowingly participated in the breaches of the other

   Defendants, knowing that such acts were breaches, enabled the other Defendants to

   commit breaches by failing to lawfully discharge its own fiduciary duties, and knew

   of the breaches by the other Defendants and failed to make any reasonable effort

   under the circumstances to remedy the breaches; thus each Defendant is liable for

   the losses caused by each breach of its co-fiduciary under 29 U.S.C. §1105(a).



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                                        COUNT IV

                                 29 U.S.C. §1106(a)
               Prohibited Transactions between Plan and Party in Interest

         99.     Plaintiffs restate and incorporate herein the allegations contained in

   the preceding paragraphs.

         100.    By causing the Plan to engage Fidelity to be the recordkeeper for

   unreasonable compensation, Defendants caused the Plan to engage in a transaction

   that they knew or should have known constituted a direct or indirect furnishing of

   services between the Plan and a party in interest prohibited by 29 U.S.C.

   §1106(a)(1)(C).

         101.    By causing the Plan to engage Fidelity to be the trustee of Plan assets

   for unreasonable compensation, Defendants caused the Plan to engage in a

   transaction that they knew or should have known constituted an exchange of

   property between the Plan and a party in interest prohibited by 29 U.S.C.

   §1106(a)(1)(A), a direct or indirect furnishing of services between the Plan and a

   party in interest prohibited by 29 U.S.C. §1106(a)(1)(C), and/or a transfer of Plan

   assets to a party in interest prohibited by 29 U.S.C. §1106(a)(1)(D).

         102.    By causing the Plan to utilize imprudent and unreasonably expensive

   mutual funds and investments as Plan investment options, Defendants caused the

   Plan to engage in a transaction that they knew or should have known constituted

   an exchange of property between the Plan and a party in interest prohibited by 29

   U.S.C. §1106(a)(1)(A), a direct or indirect furnishing of services between the Plan




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   and a party in interest prohibited by 29 U.S.C. §1106(a)(1)(C), and/or a transfer of

   Plan assets to a party in interest prohibited by 29 U.S.C. §1106(a)(1)(D).

         103.   Under 29 U.S.C. §1109(a), these Defendants are liable to restore all

   losses suffered by the Plan as a result of these prohibited transactions as well as

   other appropriate equitable or remedial relief.

                                 JURY TRIAL DEMAND

         104.   Plaintiffs demand a trial by jury under Fed.R.Civ.P. 38 and the

   Constitution of the United States.

                                 PRAYER FOR RELIEF

      Plaintiffs, on behalf of the Plan and all Plan participants and beneficiaries,

   respectfully request that the Court:

      1. Find and declare that the Defendants have breached their fiduciary duties

   and committed prohibited transactions in every instance alleged herein;

      2. Find and adjudge that Defendants are personally liable to make good to the

   Plan all losses to the Plan resulting from Defendants’ breaches of fiduciary duties or

   prohibited transactions, and to otherwise restore the Plan to the position it would

   have occupied but for the breaches of fiduciary duty;

      3. Determine the method by which to calculate the losses to the Plan caused by

   Defendants’ breaches or profits gained by Defendants from their breaches and to

   order Defendants to provide all accountings necessary to determine same, and upon

   such calculation to compel Defendants to pay into the Plan all such losses;

      4. Find and adjudge that Defendants must disgorge all sums of money received



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   from their use of assets of the Plan;

      5. Impose a constructive trust on funds with which the Defendants were unjustly

   enriched as a result of breaches of fiduciary duty or prohibited transactions and

   cause the Defendants to disgorge such funds or the proceeds thereof to the Plan;

      6. Remove the fiduciaries who have breached their fiduciary duties and/or enjoin

   them from future breaches of ERISA;

      7. Compel Defendants to render all such accountings as are necessary to provide

   the Plan complete remedies to Defendants’ breaches;

      8. Surcharge against Defendants and in favor of the Plan all amounts involved

   in any transactions which were improper, excessive and/or in violation of ERISA;

      9. Order equitable restitution against the Defendants;

      10. Award to the Plaintiffs and the Class their attorney’s fees and costs pursuant

   to 29 U.S.C. §1132(g)(1) and the common fund doctrine;

      11. Order the payment of interest to the extent it is allowed by law; and

      12. Grant any other and further equitable or remedial relief, as the Court deems

   appropriate.




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   January 22, 2016                  Respectfully submitted,




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